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  5
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  6    Twitter, Inc.
  7
  8                         UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    TIFFANY DEHEN,                      Case No. 17-cv-00198-LAB-WVG
 12                      Plaintiff,        DEFENDANT TWITTER, INC.’S
                                           OPPOSITION TO PLAINTIFF’S MOTION
 13            v.                          TO FILE SUPPLEMENTAL
                                           MEMORANDUM
 14    JOHN DOE, TWITTER, INC.,
       UNIVERSITY OF SAN                   Hearing Date: July 31, 2018
 15    DIEGO, and PERKINS COIE             Time: 11:30 a.m.
       LLP                                 Courtroom: 14A
 16                      Defendants.       Judge: Hon. Larry Alan Burns
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      Twitter Opp. to Mot. re Supp. Memo                   No. 17-cv-00198-LAB-WVG
      LEGAL140537763.2
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  1            Plaintiff Tiffany Dehen’s (“Plaintiff”) Motion for Leave to File a
  2    Supplemental Memorandum in Support of Plaintiff’s Opposition to Defendants’
  3    Motions to Dismiss, Dkt. 67, should be denied for at least two reasons.
  4            First, Plaintiff was required to include any argument or evidence supporting
  5    her claims with her operative complaint or Opposition to Defendant Twitter, Inc.’s
  6    (“Twitter”) Motion to Dismiss. See Dkt. 54 (“If [Plaintiff] has exhibits that support
  7    her complaint or brief, they should be filed with the complaint or brief when it’s
  8    due. And it needs to comply with the Federal Rules of Civil Procedure, the
  9    Southern District’s Local Rules . . . and the Court’s Standing Order.”); see also
 10    Civil L.R. 7.1(f)(3)(b) (“The opposition must contain a brief and complete
 11    statement of all reasons in opposition to the position taken by the movant, an
 12    answering memorandum of points and authorities, and copies of all documentary
 13    evidence upon which the party in opposition relies.”).
 14            Plaintiff nonetheless asks for leave to restate her arguments, Dkt. 60, 65, and
 15    submit additional evidence in the form of websites, news articles, and YouTube
 16    videos, none of which supports a claim against Twitter. Nearly all of this
 17    “evidence” predates her May 11, 2018 Opposition, so she could and should have
 18    submitted the evidence (if at all) with her Opposition to Twitter’s Motion to
 19    Dismiss. See Civil L.R. 7.1(f)(3)(b). Plaintiff has provided no justification for her
 20    failure to do so.
 21            Second, the evidence that Plaintiff seeks to submit is also irrelevant to
 22    Twitter’s Motion to Dismiss, which is fully briefed. Plaintiff cannot modify her
 23    complaint through briefing or submitting additional evidence. See Merriman v.
 24    Neuman, No. 14-CV-4130 YGR, 2015 WL 5970294, at *3 (N.D. Cal. Oct. 14,
 25    2015) (“[T]he facts needed to state the claim must be pleaded in the
 26    complaint.”). Therefore, the additional evidence submitted by Plaintiff is not
 27    properly considered on a motion to dismiss.
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      Twitter Opp. to Mot. re Supp. Memo          -1-           No. 17-cv-00198-LAB-WVG
      LEGAL140537763.2
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  1            Finally, if anything, the submission confirms that Twitter’s Motion to
  2    Dismiss should be granted without leave to amend, as the evidence does not support
  3    any claim against Twitter. Rather, the submission contains additional unsupported
  4    speculations and levies accusations against third parties unrelated to Twitter.
  5    Plaintiff has therefore confirmed that she cannot amend her complaint to state a
  6    claim against Twitter.
  7            For the reasons set forth above, Twitter respectfully requests that the Court
  8    deny Plaintiff’s Motion for Leave to File a Supplemental Memorandum.
  9            DATED: July 13, 2018.
 10                                                Respectfully submitted,
 11
 12                                                s/ Julie E. Schwartz
                                                   Julie E. Schwartz
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                                                   Attorneys for Defendant
 14                                                Twitter, Inc.
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      Twitter Opp. to Mot. re Supp. Memo         -2-           No. 17-cv-00198-LAB-WVG
      LEGAL140537763.2
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  1                               CERTIFICATE OF SERVICE
  2
               The undersigned hereby certifies that a true and correct copy of the foregoing
  3
       document has been served on July 13, 2018, to all current and/or opposing counsel
  4
       of record, if any to date, who are deemed to have consented to electronic service via
  5
       the Court’s CM/ECF system per Local Rule 5.4(d). Plaintiff, who is pro se, will be
  6
       served via overnight delivery at the following address:
  7
  8            Tiffany Dehen
               1804 Garnet Avenue #239
  9
               San Diego, CA 92109
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 11
                                               s/ Julie E. Schwartz
 12                                            Julie E. Schwartz
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      Twitter Opp. to Mot. re Supp. Memo         -3-          No. 17-cv-00198-LAB-WVG
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